                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                             WESTERN DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                               No. CR05-4124-DEO
 vs.                                                    DETENTION ORDER
 BRENT KELEHER,
                Defendant.
                                 ____________________


         This matter came on for detention hearing on December 12, 2005. The plaintiff
(the “Government”) was represented by Assistant U.S. Attorney John Lammers. The
defendant Brent Keleher appeared in person with his attorney, Shelley Horak. The
Government offered the testimony of Task Force Officer Dane Wagner.
         The court must determine whether any condition or combination of conditions will
reasonably assure Keleher’s appearance as required, as well as the safety of any other
person and the community, in deciding whether to grant the Government's motion for
detention. 18 U.S.C. § 3142(e). A defendant may be detained based on a showing of
either dangerousness or risk of flight; it is not necessary to show both. United States v.
Fortna, 769 F.2d 243 (5th Cir. 1985), cert. denied, 479 U.S. 950, 107 S. Ct. 436 (mem.),
93 L. Ed. 2d 385 (1986); United States v. Garcia, 801 F. Supp. 258, 260 (S.D. Iowa
1992).
         The court is to presume that no condition or combination of conditions will
reasonably assure the appearance of Keleher as required and the safety of the community
if the court finds there is probable cause to believe Keleher committed an offense for which




       Case 5:05-cr-04124-DEO-LTS      Document 24       Filed 12/12/05    Page 1 of 3
a maximum term of imprisonment of ten years or more is prescribed in the Controlled
Substances Act, 21 U.S.C. § 801 et seq. This presumption is subject to rebuttal by
Keleher. 18 U.S.C. § 3142(e); see 18 U.S.C. § 3142(f)(1)(C). The probable cause
element of section 3142(e) which triggers the rebuttable presumption of risk of flight and
danger to the community may be established through evidence presented at the detention
hearing of an offense which is subject to the rebuttable presumption. See United States v.
Apker, 964 F.2d 742, 744 (8th Cir. 1992); United States v. Dorsey, 852 F.2d 1068, 1069
(8th Cir. 1988). A grand jury’s indictment provides the probable cause required under
18 U.S.C. § 3142(e) to trigger the rebuttable presumption of risk of flight and danger to
the community. See United States v. Garcia, 801 F. Supp. 258 (S.D. Iowa 1992)
(citations omitted).
       In the present case, the evidence indicates Keleher has been responsible for
introducing others to the use of intravenous methamphetamine. On this record, the
evidence suggests he may have pressured others, at the least, and forced others, at worst,
to use methamphetamine with him. The evidence further indicates Keleher has attempted
to continue his involvement in drug dealings since his incarceration. Keleher offered no
evidence whatsoever, even in the form of proffer, to rebut the presumption that he would
be a danger to the community if released, and the court finds the Government has proved
by clear and convincing evidence that Keleher would be a danger to the community if
released. Therefore, the court finds the following:
       1.     Keleher is committed to the custody of the Attorney General for confinement
in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appeal.
       2.     The Attorney General shall afford Keleher reasonable opportunity for private
consultation with counsel while detained.

                                            2


    Case 5:05-cr-04124-DEO-LTS         Document 24     Filed 12/12/05    Page 2 of 3
      3.      On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver Keleher to the
United States Marshal for the purpose of an appearance in connection with a court
proceeding.
      4.      If a “review” motion for revocation or amendment is filed, pursuant to 28
U.S.C. § 3145(a) or (b), the party requesting a change in the original order must:
              (a)    Attach a copy of the release/detention order to the appeal;
              (b)    Promptly secure a transcript.
      5.      There is no automatic stay of this Order. Therefore, Keleher must request
such relief from the court.
      IT IS SO ORDERED.
      DATED this 12th day of December, 2005.




                                          PAUL A. ZOSS
                                          MAGISTRATE JUDGE
                                          UNITED STATES DISTRICT COURT




                                            3


    Case 5:05-cr-04124-DEO-LTS         Document 24      Filed 12/12/05    Page 3 of 3
